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                         UNITED STATES DISTRICT COURT

                        DISTRICT OF COLUMBIA
------------------------------------X
UNITED STATES OF AMERICA,            :   Criminal No. 1:21-cr-40 (TNM)
                                     :
          v.                         :
                                     :
PATRICK MCCAUGHEY III,               :
                                     :
               Defendant.            :   September 9, 2022
------------------------------------X


          MOTION TO ADOPT AND JOIN MOTION FILED BY CO-DEFENDANT

      The defendant Patrick McCaughey III, through counsel, respectfully requests that

the Court allow him to adopt and join co-defendant Tristan Stevens’ Memorandum of Law

re: 18 U.S.C. 111(a), ECF No. 469. This motion is designed to simplify procedures and

eliminate delay in accordance with Fed. R. Crim. P. 2.

 Dated:       Stamford, Connecticut
              September 9, 2022

                                          By:
                                                Lindy R. Urso
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                          CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing was filed and served

electronically on all parties of record, on this 9th day of September in the year

of our Lord 2022.

                               ___________________________________
                               Lindy R. Urso
